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United States District Court
Eastern District of New York                                     1:20-cv-00432

Nicole Papoulis, individually and on behalf
of all others similarly situated,
                                Plaintiff,

                 - against -                                       Complaint

Pacific Foods of Oregon, LLC,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.    Pacific Foods of Oregon, LLC (“defendant”) manufactures, distributes, markets,

labels and sells coconut milk beverages purporting to be flavored only with vanilla under their

Pacific Foods brand (“Products”).

       2.    The Products are available to consumers from retail and online stores of third-parties

and defendant's website and are sold in cartons of 32 OZ (946 ML).

       3.    The relevant front label statements include the brand name, “Pacific Foods,” product

type, “Organic Coconut Plant-Based Beverage,” “Vanilla,” “Unsweetened,” “Carrageenan Free,”

“Good Source of Vitamin D” and pictures of cured vanilla beans and coconuts.




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       4.    The Product’s back panel contains the Nutrition Facts and ingredient list.




       5.    The representations are misleading because the Product does not contain the amount,

type, and proportion of vanilla relative to non-vanilla flavor components which is expected based


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on the front label.


I.      Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        6.     The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”1

        7.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”2

        8.     Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.3

        9.     It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.”4

        10.    This demand could not be met by natural sources of vanilla, leading manufacturers

to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and appearance.

        11.    Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive


1
  21 C.F.R. §169.3(c).
2
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
3
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
4
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.


                                                        3
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oil made from cottonseeds to the horsemeat scandal in the European Union.5

         12.    Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


      A. Food Fraud as Applied to Vanilla

         13.    Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.6

         14.    The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.7

         Type of Food Fraud                                      Application to Vanilla

    ➢ Addition of markers
       specifically tested for           •   Manipulation of the carbon isotope ratios to produce
       instead of natural                    synthetic vanillin with similar carbon isotope composition
       component of vanilla                  to natural vanilla
       beans

                                         •   Ground vanilla beans and/or seeds to provide visual appeal
    ➢ Appearance of more
                                             as “specks” so consumer thinks the product contains real
       and/or higher quality of
                                             vanilla beans, when the ground beans have been exhausted
       the valued ingredient
                                             of flavor



5
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
6
  Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
7
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


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                                       •     Caramel to darken the color of an imitation vanilla so it
                                             more closely resembles the hue of real vanilla8
                                       •     Annatto and turmeric extracts in dairy products purporting
                                             to be flavored with vanilla, which causes the color to better
                                             resemble the hue of rich, yellow butter

                                       •     Tonka beans, though similar in appearance to vanilla
    ➢ Substitution and
                                             beans, are banned from entry to the United States due to
       replacement of a high
                                             fraudulent use
       quality ingredient with
                                       •     Coumarin, a toxic phytochemical found in Tonka beans,
       alternate ingredient of
                                             added to imitation vanillas to increase vanilla flavor
       lower quality
                                             perception

    ➢ Addition of less expensive
       substitute ingredient to            • Synthetically produced ethyl vanillin, from recycled paper,
       mimic flavor of more                  tree bark or coal tar, to imitate taste of real vanilla
       valuable component

                                           • “to mix flavor materials together at a special ratio in which
                                             they [sic] compliment each other to give the desirable
                                             aroma and taste”9
                                           • Combination with flavoring substances such as propenyl

    ➢ Compounding, Diluting,                 guaethol (“Vanitrope”), a “flavoring agent [, also]

       Extending                             unconnected to vanilla beans or vanillin, but unmistakably
                                             producing the sensation of vanilla”10

                                           • “Spiking” or “fortification” of vanilla through addition of
                                             natural and artificial flavors including vanillin, which
                                             simulates vanilla taste but obtained from tree bark



8
  Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
9
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
10
   Berenstein, 423.


                                                        5
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                                          • Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give
                                             substance, to raise the weight of vanilla beans, alleged in
     the impression there is
                                             International Flavors and Fragrances (IFF), Inc. v. Day
     more of the product than
                                             Pitney LLP and Robert G. Rose, 2005, Docket Number L-
     there actually is
                                             4486-09, Superior Court of New Jersey, Middlesex County

                                          • Subtle, yet deliberate misidentification and obfuscation of
                                             a product’s components and qualities as they appear on the
                                             ingredient list
                                              o “ground vanilla beans” gives impression it describes
                                                 unexhausted vanilla beans when actually it is devoid of
                                                 flavor and used for aesthetics
                                              o “natural vanilla flavorings” – “-ing” as suffix referring
                                                 to something like that which is described
 ➢ Ingredient List Deception11                o “Vanilla With Other Natural Flavors” – implying –
                                                 wrongly – such a product has a sufficient amount of
                                                 vanilla to characterize the food
                                              o “Natural Flavors” – containing “natural vanillin”
                                                 derived not from vanilla beans but from tree pulp.
                                                 When paired with real vanilla, vanillin is required to be
                                                 declared as an artificial flavor
                                              o “Non-Characterizing” flavors which are not identical
                                                 to vanilla, but that extend vanilla


        15.     The “plasticity of legal reasoning” with respect to food fraud epitomize what H.

Mansfield Robinson and Cecil H. Cribb noted in 1895 in the context of Victorian England:




11
  Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.


                                                         6
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         the most striking feature of the latter‐day sophisticator of foods is his knowledge of
         the law and his skill in evading it. If a legal limit on strength or quality be fixed for
         any substance (as in the case of spirits), he carefully brings his goods right down to
         it, and perhaps just so little below that no magistrate would convict him.

         The law and chemistry of food and drugs. London: F.J. Rebman at p. 320.12

     B. The Use of Vanillin to Simulate Vanilla

         16.    The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

         17.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.

         18.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.”13

         19.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

plant, which means that almost all vanillin has no connection to the vanilla bean.

         20.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).

         21.    Since vanilla is the only flavor with its own standard of identity, its labeling is

controlled not by the general flavor regulations but by the standards for vanilla ingredients.

         22.    This means that if a product is represented as being characterized by vanilla yet


12
   Cited in Sébastien Rioux, “Capitalist food production and the rise of legal adulteration: Regulating food standards
in 19th‐century Britain,” Journal of Agrarian Change 19.1 (2019) at p. 65 (64-81).
13
   Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.


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contains non-vanilla vanillin, the label and packaging must declare the presence of vanillin and

identify it as an artificial flavor. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The

specified name of the food is ‘Vanilla-vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’,

followed immediately by the statement ‘contains vanillin, an artificial flavor (or flavoring)’.”); see

also 21 C.F.R. § 169.181(b), § 169.182(b) (similar declarations required for Vanilla-vanillin

flavoring and Vanilla-vanillin powder).

         23.   This prevents consumers from being misled by products which may taste similar to

real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


      C. Production of “Natural Vanillins” Combined with “Natural Vanilla”

         24.   The past ten years have seen many vanillins purporting to be a “natural flavor” –

derived from a natural source material which undergoes a natural production process.

         25.   However, “natural vanillin” is not a “natural vanilla flavor” because the raw material

is typically from petrochemicals or tree pulp instead of vanilla beans.

         26.   The two main natural sources of vanillin are ferulic acid and eugenol, from cloves.

         27.   Ferulic acid is converted to vanillin through a natural fermentation process, but this

method is cost prohibitive for almost all applications.

         28.   Thus, when a product uses “natural vanillin,” it is a certainty it is made from eugenol,

which was deemed by the FDA to be considered a “natural flavor,” due to its manufacturer

claiming it is derived by a natural process.

         29.   Since this conversion occurs in China with no transparency or verification, regulators

and consumers are not told that the production method is a chain of chemical reactions which

would more accurately describe an artificial flavor.


II.      Flavor Industry’s Efforts to Use Less Vanilla, Regardless of any Shortages


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           30.    The “flavor industry” refers to the largest “flavor houses” such as Symrise AG,

Firmenich, Givaudan, International Flavors and Fragrances (including David Michael), Frutarom

and Takasago International along with the largest food manufacturing companies such as Unilever.

           31.    The recent global shortage of vanilla beans has provided the flavor industry another

opportunity to “innovate[ing] natural vanilla solutions…to protect our existing customers.”14

           32.    Their “customers” do not include the impoverished vanilla farmers nor consumers,

who are sold products labeled as “vanilla” for the same or higher prices than when those products

contained only vanilla.

           33.    These efforts include (1) market disruption and manipulation and (2) the

development of alternatives to vanilla which completely or partially replace vanilla.


       A. Flavor Industry’s Attempt to Disrupt Supply of Vanilla to Create a “Permanent Shortage”

           34.    The flavor industry has developed schemes such as the “Sustainable Vanilla

Initiative” and “Rainforest Alliance Certified,” to supposedly assure a significant supply of vanilla

at stable, reasonable prices.

           35.    Contrary to promoting “sustainability” of vanilla, these programs make vanilla less

“sustainable” by paying farmers to destroy their vanilla crops under the pretense of “crop

diversification” to the ubiquitous palm oil.

           36.    There have also been allegations that Unilever’s Rainforest Alliance Certified

Program uses child and/or slave labor and is partially responsible for the imprisonment of children.

           37.    Other tactics alleged to be utilized by these companies include “phantom bidding,”

where saboteurs claim they will pay a higher price to small producers, only to leave the farmers in




14
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.


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 the lurch, forced to sell at bottom dollar to remaining bidders.15

          38.    The reasons for these counterintuitive actions is because they benefit from high

 vanilla prices and the use of less real vanilla.

          39.    When less vanilla is available, companies must purchase the higher margin,

 proprietary, “vanilla-like” flavorings made with advanced technology and synthetic biology.


      B. Use of Vanilla WONF Ingredients to Replace and Provide Less Vanilla

          40.    Though flavor companies will not admit their desire to move off real vanilla, this

 conclusion is consistent with the comments of industry executives.

          41.    According to Suzanne Johnson, vice president or research at a North Carolina

 laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

 [WONF] in order to keep a high-quality taste at a lower price,” known as “Vanilla WONF.”

          42.    The head of “taste solutions” at Irish conglomerate Kerry urged flavor manufacturers

 to “[G]et creative” and “build a compounded vanilla flavor with other natural flavors.”

          43.    A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

 can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of

 vanilla beans. The result is a greater consistency in pricing, availability and quality.”16

          44.    These compounded flavors exist in a “black box” with “as many as 100 or more

 flavor ingredients,” including potentiators and enhancers, like maltol and piperonal, blended

 together to enhance the vanilla, allowing the use of less vanilla to achieve the intended taste.17

          45.    The effort to replace vanilla with so-called Vanilla WONF started in the late 1960s,


 15
    Monte Reel, The Volatile Economics of Natural Vanilla in Madagascar, Bloomberg.com, Dec. 16, 2019.
 16
    Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
 17
    Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
 Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
 1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
 or at Least Derived from a Natural Source”) (emphasis added).


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 but the last 10 years have seen the proliferation of this ingredient.


        C. Decline of Industry Self-Governance

           46.   That high level executives in the flavor industry are willing to boast of their

 stratagems to give consumers less vanilla for the same or greater price is not unexpected.

           47.   The once powerful and respected trade group, The Flavor and Extract Manufacturers

 Association (“FEMA”), abandoned its “self-policing” of misleading vanilla labeling claims and

 disbanding its Vanilla Committee.

           48.   FEMA previously opposed industry efforts to deceive consumers, but cast the public

 to the curb in pursuit of membership dues from its largest members, such as Unilever.


 III.      “Vanilla With Other Natural Flavors” and “Vanilla, Natural Flavor”

           49.   A “Vanilla WONF” flavor contains flavor from vanilla and other natural flavors

 which simulate, resemble and enhance the named flavor.

           50.   Three types of Vanilla WONF are widely used – one with high amounts of “natural

 vanillin,” another with additives and enhancers and a third which contains both.


        A. Vanilla WONF with Natural Vanillin

           51.   A traditional WONF flavor is delivered to a manufacturer as a combination, since

 this contributes to (1) ease of use by managing fewer suppliers, (2) ensuring the flavors

 complement and enhance each other, (3) the ability to use less of the more expensive flavor and

 (4) consistency within product batches.

           52.   On a product’s ingredient list, vanilla WONF is designated “natural flavor.” See 21

 C.F.R. § 101.22(h)(1) (“Spice, natural flavor, and artificial flavor may be declared as "spice",

 "natural flavor", or "artificial flavor", or any combination thereof, as the case may be.”).




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        53.     “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

 contains the flavoring constituents” from a natural source such as plant material and can refer to

 combinations of natural flavors. See 21 C.F.R. § 101.22(a)(3). See 21 C.F.R. § 101.22(i)(1)(i)-(iii),

 21 C.F.R. § 101.22(i)(2).

        54.     “Natural Flavor” is permitted as a designation for a flavor ingredient because (1)

 multiple flavors are often combined with flavor enhancers (adjuvants) without a standard, concise

 way to declare such a blend and (2) the term “natural flavor” allows protection of trade secrets

 because identifying each component of a flavor ingredient would disclose that information to

 competitors.

        55.     “Natural Flavor” on the Product’s ingredient list does not refer to an exclusively

 vanilla ingredient, because if it did, it would be declared.

        56.     If an exclusively vanilla ingredient is added to a food, it is required to be labeled by

 its common or usual name provided by its standard of identity. See 21 C.F.R. § 169.175(b)(1)

 (“The specified name of the food is ‘Vanilla extract’ or ‘Extract of vanilla’.”); see also 21 C.F.R.

 § 169.177(b) (“The specified name of the food is ‘Vanilla flavoring.’”).

        57.     The front label of a product containing vanilla WONF depends on whether it contains

 a sufficient amount of the characterizing vanilla flavor to independently characterize the food. See

 21 C.F.R. § 101.22(i)(1)(iii) (“the food shall be labeled in accordance with the introductory text

 and paragraph (i)(1)(i) of this section”).

        58.     If a food containing vanilla WONF contains a sufficient amount of vanilla to

 independently characterize the food, the label would state “Vanilla With Other Natural Flavor.”

 See 21 C.F.R. § 101.22(i)(1)(iii); see also 21 C.F.R. § 101.22(i)(1) (“introductory text” describing

 scenario where food contains “no artificial flavor which simulates, resembles or reinforces the




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 characterizing flavor,” and none of the sub-paragraphs of 21 C.F.R. § 101.22(i)(1) apply).

        59.     If a food containing vanilla WONF contains an insufficient amount of vanilla to

 independently characterize the food, the label would state “Vanilla Flavored With Other Natural

 Flavor.” See 21 C.F.R. § 101.22(i)(1)(iii) referring to “paragraph (i)(1)(i) of this section,” 21

 C.F.R. § 101.22(i)(1)(i).


    B. “Non-Characterizing” Vanilla Flavor Preparations

        60.     A well-known effort at circumventing the law to deceive consumers was the

 development of Vanguard in the late 1970s by David Michael & Co., Inc., currently part of

 International Flavors & Fragrances (“IFF”).

        61.     Supposedly reacting to vanilla shortages, David Michael developed a “flavorless”

 “natural flavor enhancer” that “contain[ed] no vanilla, vanillin, ethyl vanillin, or any artificial

 flavor” but reduced the amount of real vanilla by up to half.

        62.     Instead, the components were “blend[s] of dozens of plant extractives, roots, and

 botanicals, all natural ingredients found on the GRAS list.”

        63.     Described as part of a “flavor system,” David Michael advised its customers that a

 product made with Vanguard would state “vanilla extract, natural flavor” on the ingredient list and

 the front label would only need to state “Vanilla” because the non-vanilla natural flavor was

 supposedly non-characterizing and was claimed to not resemble or simulate vanilla.


           i.    Use of “Non-Characterizing” Natural Flavors in Vanilla is Deceptive and
                 Misleading

        64.     Where a product is labeled as “vanilla” and its ingredient list separately declares

 “vanilla flavor” or “vanilla extract” and “natural flavor,” it is prima facie evidence of the use of a

 purported non-characterizing flavor in addition to an exclusively vanilla ingredient.



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            65.    However, in determining the relationship between an added flavor and a

 characterizing natural flavor, the test is not solely whether the flavor simulates or is chemically

 identical to the characterizing flavor, but also whether it resembles, reinforces or extends it.

            66.    Even if a “natural flavor” used with a vanilla flavor is not a “vanilla-like” flavor, it

 is still capable of, and does effect, the amount of vanilla used.

            67.    In these types of flavor systems, the non-vanilla ingredients include GRAS additives

 like piperonal, maltol and heliotropin, which potentiate vanilla, providing more vanilla taste with

 less real vanilla

            68.    This means that the “Natural Flavor” would need to be accounted for on the front

 label of such a food.


             ii.    Non-Characterizing Flavors Used with Vanilla are Intended to Replace Vanilla

            69.    In marketing materials, flavor systems which claim to consist of a vanilla ingredient

 and natural flavor are promoted to manufacturers as “vanilla replacers.”

            70.    It is implausible to suggest that one ingredient – “natural flavor” – can allow for the

 use of less vanilla, yet have no relationship with vanilla.

            71.    Such a statement is illogical because the “natural flavor” extends and enhances the

 vanilla.

            72.    There is no logical basis to have a non-characterizing flavor in a product designated

 as “vanilla.”


            iii.    Alternative Explanation Describing non-vanilla “Natural Flavor” as a “masking
                    flavor” is Also Deceptive

            73.    Once a company can no longer persist in explaining the non-vanilla natural flavor as

 “non-characterizing,” it will describe its function as (1) a “masking flavor” which blocks or limits



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 a negative taste sensation caused by other ingredients or (2) “rounding out” harsher notes and

 ancillary flavors and (2) “masked” unpleasant dairy and off-flavors.

            74.    Masking flavors are claimed to work “in the background with the characterizing

 notes, elevating them to their true potential” and “subdu[ing] off flavors from other

 ingredients…allowing the characterizing flavor to shine.”18

            75.    However, a non-vanilla “masking” flavor creates the impression the food contains

 more vanilla, requiring disclosure on the front label. See 21 C.F.R. § 101.22(i)(1)(iii) (“other

 natural flavor which simulates, resembles or reinforces the characterizing flavor”).


             iv.    “Vanilla, Natural Flavor” on Ingredient List is Misleading because these
                    Ingredients are Designed to Work Together and their Separation is Intended to
                    Deceive

            76.    Companies know consumers value seeing vanilla extract or vanilla flavoring on an

 ingredient list.

            77.    Vanilla extract and vanilla flavor(ing) are high value ingredients which consumers

 are familiar with and know what is in it.

            78.    Natural flavor is a technical, non-transparent term which allows its components to be

 kept secret.

            79.    The ubiquity of “natural flavor” – in almost every food and beverage available – is

 synonymous with a laboratory-created, mass produced, low value ingredient.

            80.    Even though the Products contain “natural flavor,” the presence of “vanilla flavor”

 is a net positive when appealing to consumers.


 IV. The Representations are Misleading Because the Product Contains Non-Vanilla Flavor and/or



 18
      Donna Berry, Modifying Flavor in Dairy Foods, April 11, 2018, Food Business News.


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    Components Which Extend the Vanilla Used in the Product


        81.    The Product is required to be labeled consistent with the flavor regulations in 21

 C.F.R. §101.22.

        82.    The front label statements and/or images of “Vanilla” are understood by consumers

 to identify a product where (1) vanilla is the characterizing flavor, (2) vanilla is contained in a

 sufficient amount to flavor the product, (3) the flavor is provided by an exclusively vanilla

 ingredient, (4) no other flavors simulate, resemble, reinforce, enhance or extend the flavoring from

 vanilla such that less real vanilla is needed and (5) vanilla is the exclusive source of flavor.

        83.    A product labeled “Vanilla               ” gives the impression that all the flavor (taste

 sensation and ingredient imparting same) in the product is contributed by the characterizing food

 ingredient of vanilla beans. See 21 C.F.R. § 101.22(i)(1) (describing a food which contains no

 simulating artificial flavor and not subject to 21 C.F.R. § 101.22(i)(1)(i)-(iii)).

        84.    If a product contains an “amount of characterizing ingredient [vanilla] insufficient to

 independently characterize the food,” the product would be required to be labeled as “Vanilla

 flavored        ” or “natural vanilla flavored             .” See 21 C.F.R. § 101.22(i)(1)(i).

        85.    The absence of the term “flavored” where a food is labeled “Vanilla” gives

 consumers the impression the food contains a sufficient amount of vanilla to characterize the food.


    A. Ingredient List Declaration of “Natural Flavor” Reveals Flavor is Not Exclusively Vanilla

        86.    The unqualified, prominent and conspicuous representation as “Vanilla” is false,

 deceptive and misleading because the Product contains flavoring other than vanilla.

                                             Ingredient List




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        INGREDIENTS: WATER, COCONUT CREAM*, CONTAINS 1% OR LESS
        OF: COCONUT WATER CONCENTRATE*, GELLAN GUM, GUAR GUM*,
        NATURAL FLAVOR, SODIUM CITRATE, TRICALCIUM PHOSPHATE,
        VANILLA FLAVOR*, VITAMIN D2, XANTHAN GUM.

        87.    The declaration of “Natural Flavor” in addition to “Vanilla Flavor” means that

 defendant believes (or was told by its supplier) that the natural flavor has no impact on the vanilla

 taste of the Products.

        88.    For the reasons described above, such explanations are false and misleading to

 consumers.

        89.    Additionally, laboratory analysis of the Products confirmed or would confirm the

 presence of maltol, used as a flavor enhancer and/or the presence of vanillin vis-à-vis other vanilla

 marker compounds at levels inconsistent with their presence in natural vanilla beans.

        90.    The Product’s front label flavor designation of “Vanilla” fails to disclose the

 presence of these non-vanilla flavorings, i.e., Vanilla Flavored Coconut Beverage, Vanilla

 Coconut Beverage With Other Natural Flavors, etc., which is deceptive to consumers.


 V.     Conclusion

        91.    Defendant’s branding and packaging of the Products are designed to – and do –

 deceive, mislead, and defraud consumers.

        92.    The amount of vanilla has a material bearing on price or consumer acceptance of the

 Products because their absence causes consumers to pay more for such Products..

        93.    Had plaintiff and class members known the truth, they would not have bought the



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 Products or would have paid less for it.

        94.   Defendant’s false, deceptive, and misleading branding and packaging of the Product

 has enabled defendant to sell more of the Products and at higher prices per unit, than it would have

 in the absence of this misconduct, resulting in additional profits at the expense of consumers.

        95.   The value of the Product that plaintiff actually purchased and consumed was

 materially less than its value as represented by defendant.

        96.   Had plaintiff and class members known the truth, they would not have bought the

 Products or would have paid less for it.

        97.   The Product contains other representations which are misleading and deceptive.

        98.   As a result of the false and misleading labeling, the Product is sold at a premium

 price, approximately no less than $4.99 per unit, excluding tax, compared to other similar products

 represented in a non-misleading way.

                                       Jurisdiction and Venue


        99.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

 of 2005 or “CAFA”).

        100. Under CAFA, district courts have “original federal jurisdiction over class actions

 involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

 diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        101. Upon information and belief, the aggregate amount in controversy is more than

 $5,000,000.00, exclusive of interests and costs.

        102. This is a reasonable assumption because the Products are sold in stores across the

 nation and have been sold bearing the allegedly misleading claims for several years.

        103. Plaintiff is a citizen of New York.



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         104. Defendant is a Oregon limited liability company with a principal place of business

 in Tualatin, Washington County, Oregon and is a citizen of Oregon. and upon information and

 belief, at least one member of defendant is not a citizen of New York.

         105. This court has personal jurisdiction over defendant because it conducts and transacts

 business, contracts to provide and/or supply and provides and/or supplies services and/or goods

 within New York.

         106. Venue is proper because plaintiff and many class members reside in this District and

 defendant does business in this District and State.

         107. A substantial part of events and omissions giving rise to the claims occurred in this

 District.

                                                 Parties

         108. Plaintiff is a citizen of Astoria, Queens County, New York.

         109. Defendant Pacific Foods of Oregon, LLC is a Oregon limited liability company with

 a principal place of business in Tualatin, Oregon, Washington County.

         110. During the relevant statutes of limitations, plaintiff purchased the Product for

 personal consumption within this district and/or State.

         111. Plaintiff paid more for the Product than she otherwise would have if the Product did

 not have the misleading representations.

         112. Plaintiff paid a premium price for the Product because prior to purchase, plaintiff

 saw and relied on the misleading representations.

         113. Plaintiff would purchase the Product again if she were assured the representations

 were no longer misleading.

                                          Class Allegations




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        114. The classes will consist of all consumers in New York, the other 49 states and a

 nationwide class where applicable.

        115. Common questions of law or fact predominate and include whether defendant’s

 representations and practices were likely to harm plaintiff and if plaintiff and class members are

 entitled to damages.

        116. Plaintiff's claims and basis for relief are typical to other members because all were

 subjected to the same unfair and deceptive actions.

        117. Plaintiff is an adequate representative because her interests do not conflict with other

 members.

        118. No individual inquiry is necessary since the focus is only on defendant’s practices

 and the class is definable and ascertainable.

        119. Individual actions would risk inconsistent results, be repetitive and are impractical

 to justify, as the claims are modest relative to the scope of the harm.

        120. Plaintiff's counsel is competent and experienced in complex class action litigation

 and intends to adequately and fairly protect class members’ interests.

        121. Plaintiff seeks class-wide injunctive relief because the practices continue.

                                        New York GBL §§ 349 & 350
                                  (Consumer Protection from Deceptive Acts)

        122. Plaintiff incorporates by reference all preceding paragraphs.

        123. Plaintiff and class members desired to purchase products which were as described

 by defendant and expected by reasonable consumers, given the product type.

        124. Defendant’s acts and omissions are not unique to the parties and have a broader

 impact on the public.

        125. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair



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 because it gives the impression to consumers the Products to contain sufficient amounts of the

 highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

 did not contain other flavor components which simulate, resemble or reinforce the characterizing

 flavor and only contained flavor from vanilla.

        126. Plaintiff and class members would not have purchased the Products or paid as much

 if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

        127. Plaintiff incorporates by reference all preceding paragraphs.

        128. Defendant misrepresented the substantive, quality, compositional, organoleptic

 and/or nutritional attributes of the Products through representing they contain sufficient amounts

 of the highlighted ingredient, vanilla, to independently characterize the taste or flavor of the

 Products, did not contain other flavor components which simulate, resemble or reinforce the

 characterizing flavor and only contained flavor from vanilla.

        129. Defendant had a duty to disclose and/or provide non-deceptive labeling of the

 Product and its components and ingredients, and knew or should have known same were false or

 misleading.

        130. This duty is based on defendant’s position as an entity which has held itself out as

 having special knowledge and experience in the production, service and/or sale of the product or

 service type.

        131. The representations took advantage of consumers’ (1) cognitive shortcuts made at

 the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

        132. Plaintiff and class members reasonably and justifiably relied on these negligent

 misrepresentations and omissions, which served to induce and did induce, the purchase of the




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 Products.

        133. Plaintiff and class members would not have purchased the Products or paid as much

 if the true facts had been known, suffering damages.

             Breaches of Express Warranty, Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

        134. Plaintiff incorporates by reference all preceding paragraphs.

        135. Defendant manufactures and sells products which purportedly contain sufficient

 amounts of the highlighted ingredient, vanilla, to independently characterize the taste or flavor of

 the Products, did not contain other flavor components which simulate, resemble or reinforce the

 characterizing flavor and only contained flavor from vanilla.

        136. The Products warranted to plaintiff and class members that they possessed

 substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

 other attributes which they did not.

        137. Defendant had a duty to disclose and/or provide a non-deceptive description and

 identification of the Product.

        138. This duty is based, in part, on defendant’s position as one of the most recognized

 companies in the nation in this sector.

        139. Plaintiff provided or will provide notice to defendant, its agents, representatives,

 retailers and their employees.

        140. Defendant had received or should have been aware of the misrepresentations due to

 numerous complaints by consumers to its main office over the past several years.

        141. The Product did not conform to its affirmations of fact and promises due to

 defendant’s actions and were not merchantable.

        142. Plaintiff and class members relied on the claims, paying more than they would have.



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                                                 Fraud


        143. Plaintiff incorporates by references all preceding paragraphs.

        144. Defendant’s purpose was to sell products that contain sufficient amounts of the

 highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

 did not contain other flavor components which simulate, resemble or reinforce the characterizing

 flavor and only contained flavor from vanilla.

        145. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

 Product on the front label.

        146. Plaintiff and class members observed and relied on defendant’s claims, causing them

 to pay more than they would have, entitling them to damages.

                                             Unjust Enrichment

        147. Plaintiff incorporates by reference all preceding paragraphs.

        148. Defendant obtained benefits and monies because the Products were not as

 represented and expected, to the detriment and impoverishment of Plaintiff and class members,

 who seek restitution and disgorgement of inequitably obtained profits.

                                    Jury Demand and Prayer for Relief

 Plaintiff demands a jury trial on all issues.

     WHEREFORE, Plaintiff prays for judgment:

    1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

        as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

        challenged practices to comply with the law;

    3. Injunctive relief to remove, correct and/or refrain from the challenged practices and



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       representations, restitution and disgorgement for members of the State Subclasses pursuant

       to the applicable laws of their States;

    4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and other statutory claims;

    5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

    6. Other and further relief as the Court deems just and proper.

 Dated: January 27, 2020
                                                               Respectfully submitted,

                                                               Sheehan & Associates, P.C.
                                                               /s/Spencer Sheehan
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 1:20-cv-00432
 United States District Court
 Eastern District of New York

 Nicole Papoulis, individually and on behalf of all others similarly situated,


                                          Plaintiff,


          - against -


 Pacific Foods of Oregon, LLC,


                                           Defendant




                                            Complaint



                        Sheehan & Associates, P.C.
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                          Great Neck NY 11021-5101
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 Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
 New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
 under the circumstances, the contentions contained in the annexed documents are not frivolous.

 Dated: January 27, 2020
                                                                           /s/ Spencer Sheehan
                                                                            Spencer Sheehan
